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                         UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON “BABY
 POWDER” and “SHOWER TO SHOWER”
 MARKETING, SALES PRACTICES AND
 PRODUCTS LIABILITY LITIGATION
                                                               MDL NO. 2738 (FLW) (LHG)
 THIS DOCUMENT RELATES TO:

 Daniel McDonough, Individually and as Personal
 Representative of the Estate of Cheryl McDonough,
 Deceased vs. Johnson & Johnson, et al.
 Case No.: 3:18-cv-4235




                                      NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

 Daniel McDonough.

        This 15th day of October 2018.

                                                     Respectfully submitted,

                                                     ONDERLAW, LLC

                                              By:    /s/ W. Wylie Blair
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                                      Certificate of Service

        The undersigned hereby certifies that this document was filed and electronically served by
 way of the Court’s electronic filing system this 15th day of October 2018.


                                                     /s/ W. Wylie Blair
